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                                                         Hearing Date: June 6, 2018 at 9:30 a.m. (Atlantic Time)
                                                   Objection Deadline: April 9, 2018 at 4:00 p.m. (Atlantic Time)


                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


 In re:

 THE FINANCIAL OVERSIGHT AND                                                 PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                           Title III

                       as representative of                                  Case No. 17-BK-3283 (LTS)

 THE COMMONWEALTH OF PUERTO RICO, et al.,                                    (Jointly Administered)
           Debtors.1


               SECOND INTERIM APPLICATION OF BETTINA M. WHYTE,
               IN HER CAPACITY AS THE COFINA AGENT, FOR INTERIM
                   ALLOWANCE OF COMPENSATION FOR SERVICES
              RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
                 FROM OCTOBER 1, 2017 THROUGH JANUARY 31, 2018




 1
          The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last
          four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth
          of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii)
          Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last
          Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”)
          (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
          Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case
          No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power
          Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID:
          3747).
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EXHIBITS

Exhibit 1 – Certification of Bettina M. Whyte

Exhibit 2 – Summary of Professionals for the Application Period

Exhibit 3 – Summary of Expenses for the Application Period

Exhibit 4 – Summary of Time by Billing Category for the Application Period

Exhibit 4-A – Time and Expense Detail for the October Fee Statement

Exhibit 4-B – Time and Expense Detail for the November Fee Statement

Exhibit 4-C – Time and Expense Detail for the December Fee Statement

Exhibit 4-D – Time and Expense Detail for the January Fee Statement




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     SUMMARY SHEET TO THE SECOND INTERIM APPLICATION OF BETTINA M.
      WHYTE FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
       AND REIMBURSEMENT OF EXPENSES INCURRED IN HER CAPACITY AS
      THE COFINA AGENT FROM OCTOBER 1, 2017 THROUGH JANUARY 31, 2018

 Name of Applicant                                                        Bettina M. Whyte
 Time period covered by this application                                  October 1, 2017 through January
                                                                          31, 2018
 Total compensation incurred this period                                  $160,945.00
 Total expenses sought this period                                        $3,779.562
 Petition date                                                            May 5, 2017 for COFINA (as
                                                                          defined below)
 Retention date                                                           August 3, 2017
 Date of order approving employment                                       August 10, 2017 nunc pro tunc to
                                                                          August 3, 2017
 Total compensation approved by interim order to date                     $208,056.503
 Total expenses approved by interim order to date                         $11,674.59
 Total allowed compensation paid to date                                  $208,056.50
 Total allowed expenses paid to date                                      $11,674.59
 Compensation sought in this application already paid                     $106,168.50
 pursuant to the interim compensation order but not yet
 allowed (October, November and December 2017)
 Expenses sought in this application already paid pursuant to             $5,180.56
 the interim compensation order but not yet allowed
 (October, November and December 2017)




 2
        This amount reflects voluntary reductions to expenses in the amount of $1,561.00, reflecting the fee
        examiner’s views that certain expenses should be capped at certain amounts.
 3
        Additionally, pursuant to an agreement with the fee examiner, $41,130.00 in fees and $5,102.57 in
        expenses are still pending review by the fee examiner and no order has been entered allowing or
        disallowing those amounts.

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 To the Honorable United States District Court Judge Laura Taylor Swain:

        Bettina M. Whyte (“Ms. Whyte”), in her capacity as the COFINA Agent (together with

 her employees, the “COFINA Agent”) in the above-captioned Title III cases (the “Title III

 Cases”), hereby submits her second interim fee application (the “Application”) for an award of

 interim compensation for professional services rendered in the amount of $160,945.00 and

 reimbursement for actual and necessary expenses in connection with such services in the amount

 of $3,779.56, for the period of October 1, 2017 through January 31, 2018 (the “Application

 Period”). The COFINA Agent submits this Application pursuant to sections 316 and 317 of the

 Puerto Rico Oversight, Management, and Economic Stability Act (“PROMESA”),4 48 U.S.C. §§

 2176, 2177; sections 105(a) and 503(b) of chapter 11 of the United States Code (the

 “Bankruptcy Code),5 Rule 2016(a) of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”),6 Rule 2016-1 of the Bankruptcy Rules for the United States Bankruptcy

 Court for the District of Puerto Rico (the “Local Rules”)7 and the First Amended Order Setting

 Procedures for Interim Compensation and Reimbursement of Expenses of Professionals (the

 “Interim Compensation Order”) [Dkt. No. 1715]. In support of the Application, in her

 capacity as the COFINA Agent, Ms. Whyte respectfully represents:




 4
        PROMESA is codified at 48 U.S.C. §§ 2101–2241.
 5
        Unless otherwise noted, all Bankruptcy Code sections cited in the Application are made applicable to these
        Title III Cases pursuant to section 301(a) of PROMESA.
 6
        All Bankruptcy Rules referenced in the Application are made applicable to these Title III Cases pursuant to
        section 310 of PROMESA.
 7
        The Local Rules are made applicable to these Title III Cases by the Court’s Order (A) Imposing and
        Rendering Applicable Local Bankruptcy Rules to These Title III Cases, (B) Authorizing Establishment of
        Certain Notice, Case Management, and Administrative Procedures, and (C) Granting Related Relief [Dkt.
        No. 249].

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                                JURISDICTION AND VENUE

               1.      This Court has subject matter jurisdiction over this matter pursuant to

 section 306(a) of PROMESA.

               2.      Venue is proper pursuant to section 306(a) of PROMESA.

               3.      The COFINA Agent makes this Application pursuant to sections 316 and

 317 of PROMESA, sections 105(a) and 503(b) of the Bankruptcy Code, Bankruptcy Rule 2016,

 Local Rule 2016-1, the Commonwealth-COFINA Stipulation (as defined below) and the Interim

 Compensation Order.

                                        BACKGROUND

 A.     General Background

               4.      On May 3, 2017, the Commonwealth of Puerto Rico (the

 “Commonwealth”), by and through the Financial Oversight and Management Board for Puerto

 Rico (the “Oversight Board”), as the Commonwealth’s representative pursuant to section

 315(b) of PROMESA, filed a petition with the Court under title III of PROMESA.

               5.      On May 5, 2017, the Puerto Rico Sales Tax Financing Corporation

 (“COFINA”), by and through the Oversight Board, as COFINA’s representative pursuant to

 section 315(b) of PROMESA, filed a petition with the Court under title III of PROMESA.

               6.      On May 21, 2017, the Employees Retirement System for the

 Commonwealth of Puerto Rico (“ERS”), by and through the Oversight Board, as ERS’s

 representative pursuant to section 315(b) of PROMESA, filed a petition with the Court under

 title III of PROMESA.

               7.      On May 21, 2017, the Puerto Rico Highways and Transportation

 Authority (“HTA”), by and through the Oversight Board, as HTA’s representative pursuant to

 section 315(b) of PROMESA, filed a petition with the Court under title III of PROMESA.

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                8.       On July 3, 2017, the Puerto Rico Electric Power Authority (“PREPA”),

 by and through the Oversight Board, as PREPA’s representative pursuant to section 315(b) of

 PROMESA, filed a petition with the Court under title III of PROMESA.

                9.       Through Orders of this Court, the Commonwealth, COFINA, HTA, ERS,

 and PREPA Title III Cases (collectively, the “Title III Cases”) are jointly administered for

 procedural purposes only pursuant to section 304(g) of PROMESA and Bankruptcy Rule 1015.

 [See Dkt. Nos. 242, 537 and 1417.]

 B.     The COFINA Agent’s Retention

                10.      On August 10, 2017, the Court entered the Stipulation and Order

 Approving Procedure to Resolve Commonwealth-COFINA Dispute [Dkt. No. 996] (the

 “Commonwealth-COFINA Stipulation”), which appointed Ms. Whyte as the COFINA Agent.

 The Commonwealth-COFINA Stipulation also authorized COFINA to compensate her in

 accordance with the COFINA Agent’s normal hourly rates and reimburse the COFINA Agent for

 the firm’s actual and necessary out-of-pocket expenses incurred, subject to application to this

 Court as set forth herein. As set forth more fully below, pursuant to the Interim Compensation

 Order (as defined below), the COFINA Agent has filed four monthly fee statements related to

 this Application and has been paid 90%8 of the fees and 100% of the expenses for her monthly

 fee statements for October, November, and December 2017 in accordance with the Interim

 Compensation Order, and payment for the January, 2018 fee statement is pending. Prior to the

 submission of this Application, the COFINA Agent submitted an Interim Application for the

 period of August 3, 2017-September 30, 2017 (the “First Interim Fee Application”), and the

 8
        The Debtors erroneously paid the entire amount of the fees requested in the monthly fee statement for
        August to the COFINA Agent without accounting for the 10% holdback. In order to comply with the
        holdback requirements in the Interim Compensation Order, the COFINA Agent allocated this 10%
        overpayment as a prepayment of her fees in her fee statement for November, and reduced her fee request
        for November accordingly.

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 Court entered an order allowing that compensation (after accounting for the reductions proposed

 by the fee examiner and agreed to by the COFINA Agent).

                     SUMMARY OF PROFESSIONAL COMPENSATION
                    AND REIMBURSEMENT OF EXPENSES REQUESTED

                11.       By this Application and pursuant to sections 316 and 317 of PROMESA,

 sections 105(a) and 503(b) of the Bankruptcy Code, Rule 2016(a) of the Bankruptcy Rules and

 Rule 2016-1 of the Local Rules, the COFINA Agent requests that this Court authorize interim

 allowance of compensation for professional services rendered and reimbursement of expenses

 incurred during the Application Period in the amount of $164,724.56 (the “Application

 Amount”), which includes (a) compensation of $160,945.00 in fees for services rendered to

 COFINA and (b) reimbursement of $3,779.569 in actual and necessary expenses in connection

 with these services. As of the date hereof, the COFINA Agent has been paid all amounts other

 than $54,776.50, which represents 10% of the COFINA Agent’s fees that have been “held back”

 (generally referred to herein as the “Holdback”) for the month of October, November and

 December, and 100% of the fees and expenses incurred during January 2018.10

                          PRIOR INTERIM AWARDS AND REQUESTS

                12.       The Court has entered an order [Docket No. 2685] allowing the COFINA

 Agent’s First Interim Fee Application, after including the reductions proposed by the fee

 examiner and agreed to by the COFINA Agent.

                 FEES AND EXPENSES FOR THE APPLICATION PERIOD

                13.       The COFINA Agent’s services in these cases have been substantial,

 necessary, and beneficial to COFINA. Throughout the Application Period, the variety and

 complexity of the issues involved and the need to address those issues on an expedited basis

 9
        See footnote 2.
 10
        See footnote 8.

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 required the COFINA Agent, in the discharge of her professional responsibilities, to devote

 substantial time by professionals.

                14.     Specifically, the COFINA Agent’s requested compensation reflects the

 requisite time, skill and effort the COFINA Agent and her employees expended during the

 Application Period towards, inter alia: (a) continuing to advance these cases to a resolution on a

 dual track of litigation and mediation; and (b) preparing for and attending various mediation

 sessions and hearings, including participating in calls with the mediators.

                                MONTHLY FEE STATEMENTS

                15.     The Interim Compensation Order provides, among other things, that

 professionals are required to serve monthly itemized billing statements (the “Monthly Fee

 Statements”) on counsel to the Oversight Board, counsel to AAFAF, the U.S. Trustee, counsel

 to the Official Committee of Unsecured Creditors, counsel to the Official Committee of Retired

 Employees and the Fee Examiner (collectively, the “Notice Parties”). Upon passage of the

 objection period, if no objections are received, the Debtors are authorized to pay to the

 professionals 90% of the fees and 100% of the expenses requested. In addition to the Interim

 Compensation Order authorizing payment, the COFINA Agent received further confirmation of

 the Debtors’ obligation to pay her fees pursuant to the Order Approving COFINA Agent’s

 Motion Pursuant to 48 U.S.C. § 2161 and 11 U.S.C. § 105(a) for Order: (I) Confirming that 48

 U.S.C. § 2125 Applies to COFINA Agent; (II) Confirming Retention of Local Counsel; and (III)

 Clarifying Payment of Fees and Expenses of COFINA Agent and her Professionals [Dkt. No.

 1612] (the “COFINA Protections Order”). The COFINA Protections Order directs payment to

 the COFINA Agent and her professionals out of the collateral “purportedly pledged to COFINA

 bondholders because the services of the COFINA Agent (i) serve as adequate protection for the

 collateral and/or (ii) are “reasonable” and “necessary” to protect the collateral pursuant to section

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 506(c) of the Bankruptcy Code, the Agent/Professional Fees shall be paid pursuant to the Interim

 Compensation Order or any other order of the Court. . . . .” COFINA Protections Order ¶ 5. The

 COFINA Protections Order further provides that if COFINA is unable to make payments to the

 COFINA Agent’s professionals for any reason, the Commonwealth must make such payments

 within fourteen days of receiving notice of COFINA’s nonpayment.

                16.       In compliance with the Interim Compensation Order, the COFINA Agent

 has submitted Four (4) Monthly Fee Statements relating to the Application Period. Payment on

 account of these Monthly Fee Statements was requested as follows:

                          (a) Pursuant to the Monthly Fee Statement for the period
                              October 1, 2017 through October 31, 2017 (the “October Fee
                              Statement”), the COFINA Agent requested payment of
                              $38,943.30, representing the total of (i) $ 37,296.00, which is
                              90% of the fees requested for services rendered (i.e.,
                              $41,440.00) plus (ii) $1,411.19,11 representing 100% of the
                              expenses incurred during the period.

                          (b) Pursuant to the Monthly Fee Statement for the period November 1,
                              2017 through November 30, 2017 (the “November Fee Statement”),
                              the COFINA Agent requested payment of $33,471.65, representing
                              the total of (i) $46,462.50, which is 90% of the fees requested for
                              services rendered (i.e., $51,625.00), plus (ii) $1,971.26,12 representing
                              100% of the expenses incurred during the period, less (iii) the
                              $16,021 overpayment of the August 2017 payment request.13

                          (c) Pursuant to the Monthly Fee Statement for the period
                              December 1, 2017 through December 31, 2017 (the
                              “December Fee Statement”), the COFINA Agent requested
                              payment of $22,967.11, representing the total of (i)
                              $22,410.00, which is 90% of the fees requested for services
                              rendered (i.e., $24,900.00), plus (ii) $397.11,14 representing
                              100% of the expenses incurred during the period.

                          (d) Pursuant to the Monthly Fee Statement for the period January
                              1, 2018 through January 31, 2018 (the “January Fee
                              Statement”), the COFINA Agent requested payment of
 11
        See footnote 2.
 12
        See footnote 2.
 13
        See footnote 8.
 14
        See footnote 2.

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                              $38,842.00, representing the total of (i) $38,682.00, which is
                              90% of the fees requested for services rendered (i.e.,
                              $42,980.00), plus (ii) $0.00,15 representing 100% of the
                              expenses incurred during the period.

          FEES AND EXPENSES INCURRED DURING APPLICATION PERIOD

                17.       Annexed hereto as Exhibit 1 is the Certification of Bettina M. Whyte

 pursuant to the Local Rules (the “Certification”).

                18.       Annexed hereto as Exhibit 2 is a summary sheet listing professional who

 has worked on these cases during the Application Period, his or her hourly billing rate during the

 Application Period, and the amount of the COFINA Agent’s fees attributable to each individual.

                19.       The COFINA Agent also maintains records of all actual and necessary

 out-of-pocket expenses incurred in connection with the rendition of professional services. A

 schedule setting forth the categories of expenses and amounts for which reimbursement is

 requested for the Application Period is annexed hereto as Exhibit 3.

                20.       The COFINA Agent maintains written records of the time expended by

 the professionals carrying out professional services to COFINA. Such time records are made

 contemporaneously with the rendition of services by the person rendering such services.

 Annexed hereto as Exhibit 4 is a list of all of the matters for which services were rendered by the

 COFINA Agent during the Application Period and the aggregate amount of hours and fees

 expended for each of those matters.

                21.       Except as set forth in the Certification, no agreement or understanding

 exists between the COFINA Agent and any other entity for the sharing of compensation to be

 received for services rendered in or in connection with these cases.




 15
        See footnote 2.

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                22.    The fees charged by the COFINA Agent in these title III cases are billed in

 accordance with its existing billing rates and procedures.

                23.    The rates the COFINA Agent charged in these cases are consistent with

 the rates charged by the COFINA Agent to her non-bankruptcy clients. The COFINA Agent’s

 standard hourly rates are similar to the customary compensation charged by comparably-skilled

 practitioners in comparable non-bankruptcy and bankruptcy cases in a competitive national legal

 market.

                           SUMMARY OF SERVICES RENDERED

                24.    The following summary highlights the major areas to which the COFINA

 Agent devoted substantial time and attention during the Application Period. The full breadth of

 the COFINA Agent’s services are reflected in the time records, copies of which are annexed

 hereto as Exhibits 4(A)-(D).

        A.      Mediation
                (Fees: $74,015.00/ Hours Billed: 69.85)

                25.    On June 23, 2017, this Court entered the Order Appointing Mediation

 Team [Dkt. No. 430] (the “Mediation Order”) to establish a process to attempt to cooperatively

 resolve issues arising in the Title III Cases, including the Commonwealth-COFINA Dispute.

                26.    The parties bound by the Mediation Order include the COFINA Agent, the

 Commonwealth Agent and certain of their respective constituents, among others. The Mediation

 Order requires principals with settlement authority and their respective advisors to personally

 attend the mediation sessions.

                27.    The subject matter of the mediations is confidential but generally

 encompassed any and all issues arising in the Title III Cases, as determined by the appointed

 mediation team.


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                 28.    During the Application Period the COFINA Agent spent a significant

 amount of time reviewing and analyzing relevant issues to assist and comment regarding draft

 mediation statements setting forth the COFINA Agent’s position on these issues. The COFINA

 Agent also spent significant time communicating and consulting with Willkie Farr & Gallagher

 LLP (WF&G), as counsel to the COFINA Agent, and other professionals, including the COFINA

 constituents that are participating in the mediation, and the mediators.

        B.       Litigation
                 (Fees: $64,350.00 / Hours Billed: 60.3)

                 29.    Pursuant to the Commonwealth-COFINA Stipulation, the Oversight Board

 appointed the COFINA Agent for the express purpose of litigating and/or settling the

 Commonwealth-COFINA Dispute on behalf of COFINA.

                 30.    The Commonwealth Agent subsequently commenced an adversary

 proceeding against the COFINA Agent, attacking the ownership and constitutionality of

 COFINA’s sales and use tax revenue.

                 31.    During the Application Period, the COFINA Agent spent time on a range

 of issues arising in the COFINA Agent’s discharge of her duty to litigate and/or settle the

 Commonwealth-COFINA Dispute. The COFINA Agent met with and held telephonic

 discussions with a number of the stakeholders about the dispute, reviewed legal arguments

 relating to the dispute (relying on the legal review and analysis provided by WF&G), reviewed

 and provided comments on Court documents and other documents provided to her by various

 stakeholders.   The COFINA Agent conferred regularly with WF&G and local Puerto Rico

 counsel to the COFINA Agent.




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          C.    Fee Application/Agent
                (Fees: $7,430.00 / Hours Billed: 8.5)

                32.    The COFINA Agent spent time preparing and reviewing her first interim

 fee application and monthly fee statements.

          D.    Fee Application/ Counsel
                (Fees: $7,800.00 / Hours Billed: 8.7)

                33.    During the Application Period the COFINA Agent spent time reviewing

 and analyzing monthly fee statements from counsel as required by the Interim Compensation

 Order.

          E.    Non-Working Travel
                (Fees: $7,350.00 / Hours Billed: 7.5)

                34.    In accordance with the UST Guidelines, the COFINA Agent has billed all

 non-working travel time to this matter. All time in this matter was billed at fifty percent (50%)

 of the COFINA Agent’s standard hourly rates.

                      EVALUATING THE COFINA AGENT’S SERVICES

                35.    Section 317 of PROMESA authorizes interim compensation of

 professionals and incorporates the substantive standards of section 316 of PROMESA to govern

 the Court’s award of interim compensation. Section 316 of PROMESA provides that a court

 may award a professional employed by the debtor “reasonable compensation for actual,

 necessary services rendered,” and “reimbursement for actual, necessary expenses.” 48 U.S.C. §

 2176(a)(1) and (2). Section 316(c) sets forth the criteria for such an award:

                In determining the amount of reasonable compensation to be
                awarded to a professional person, the court shall consider the
                nature, the extent, and the value of such services, taking into
                account all relevant factors including—

                (1) the time spent on such services;

                (2) the rates charged for such services;

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                (3) whether the services were necessary to the administration of,
                or beneficial at the time at which the service was rendered to the
                completion of, a case under this chapter;

                (4) whether the services were performed within a reasonable
                amount of time commensurate with the complexity, importance,
                and nature of the problem, issue, or task addressed;

                (5) with respect to a professional person, whether the person is
                board certified or otherwise has demonstrated skill and experience
                in the restructuring field; and

                (6) whether the compensation is reasonable based on the
                customary compensation charged by comparably skilled
                practitioners in cases other than cases under this title or title 11 of
                the United States Code.48 U.S.C. § 2176(c).

                36.     The COFINA Agent respectfully submits that the services for which she

 seeks compensation in this Application were necessary for and beneficial to the estate. The

 COFINA Agent further submits that the services rendered were performed efficiently and

 effectively. Finally, the COFINA Agent submits that the compensation requested herein is

 reasonable in light of the nature, extent and value of such services and those parties impacted by

 her actions and that the compensation requested is based on the customary compensation charged

 by comparably skilled practitioners in cases other than cases under title 11.

              THE COFINA AGENT’S REQUEST FOR INTERIM COMPENSATION

                37.     The COFINA Agent submits that her request for interim allowance of

 compensation is reasonable. The services rendered by the COFINA Agent, as highlighted above,

 required substantial time and effort, resulting in substantial progress and success in these cases.

 The services rendered by the COFINA Agent during the Application Period were performed

 diligently and efficiently.




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                38.        The professional services performed by the COFINA Agent during the

 Application Period required an aggregate expenditure of 154.85 hours by the COFINA Agent

 and her employee.

                39.        The COFINA Agent’s hourly billing rates for professionals working on

 these cases ranged from $800.00 - $1,100.00. The COFINA Agent’s hourly rates and fees

 charged are consistent with the market rate for comparable services. As set forth in the

 Certification, the hourly rates and fees charged by the COFINA Agent are the same as those

 generally charged to, and paid by, the COFINA Agent’s other clients. Indeed, unlike fees paid

 by most of the COFINA Agent’s clients, due to the “holdback” of fees from prior Monthly Fee

 Statements and the delays inherent in the fee application process, the present value of the fees

 paid to the COFINA Agent by the Debtors generally is less than fees paid monthly by other

 clients.

                                         DISBURSEMENTS

                40.        The COFINA Agent incurred actual and necessary out-of-pocket expenses

 during the Application Period, in the amounts set forth in Exhibit 3. By this Application, the

 COFINA Agent respectfully requests allowance of such reimbursement in full.

                41.        The disbursements for which the COFINA Agent seeks reimbursement

 include the following:

                      a.       Administrative Expenses – Charged for duplicating and
                               reproduction costs, cost of supplies, invoicing software user
                               fees;

                      b.       Teleconferencing – the COFINA Agent does not charge for
                               long distance telephone calls but does bill for the use of
                               teleconferencing services;

                      c.       Postage/ Messenger/Delivery Services – the COFINA Agent’s
                               practice is to charge postal, overnight delivery and courier
                               services at actual cost;

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                       d.       Lodging/Travel Expenses/Airfare – The COFINA Agent’s
                                practice is to charge lodging, airfare and travel services at
                                actual cost to the client;

                       e.       Local Car Service – The COFINA Agent’s practice is to
                                charge ground transportation services at actual cost to the
                                client; and

                       f.       Local Meals – The COFINA Agent’s practice is to charge for
                                local meals while traveling out of town to attending meetings,
                                mediations and hearings at actual cost to the client.

                                                PROCEDURE

                 42.        In accordance with the Interim Compensation Order, the COFINA Agent

 has provided: (a) notice and copies of the Application to the Notice Parties and (b) notice of this

 Application to all parties that have requested notice pursuant to Bankruptcy Rule 2002.16 The

 COFINA Agent submits that no other or further notice is required.




 16
        Copies of the Application, including exhibits, are available on the Debtors’ claims and noticing agents’
        website: https://cases.primeclerk.com/puertorico.

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                                     CONCLUSION

              WHEREFORE, the COFINA Agent respectfully requests that this Court enter an

 order:

                     (a)   allowing interim approval of compensation to the COFINA Agent
                           for services rendered from October 1, 2017 through January 31,
                           2018, inclusive, in the amount of $ 160,945.00;

                     (b)   allowing interim approval of reimbursement to the COFINA Agent
                           of actual, necessary expenses incurred in connection with the
                           rendition of such services from October 1, 2017 through January
                           31, 2018, inclusive, in the amount of $ 3,779.56;

                     (c)   approving and directing the payment of all fees and expenses
                           incurred by the COFINA Agent that remain unpaid, including all
                           Holdbacks; and

                     (d)   such other relief as may be just or proper.

 Dated: March 19, 2018

                                                    Bettina M. Whyte, as COFINA Agent


                                                    By:    /s/ Bettina M. Whyte
                                                          Bettina M. Whyte

                                                          545 West Sagebrush Drive
                                                          Jackson, WY 83001
                                                          Telephone: (917) 826-8781


                                                           /s/ Nilda M. Navarro-Cabrer

                                                          Nilda M. Navarro-Cabrer
                                                          NAVARRO-CABRER LAW OFFICES
                                                          (USDC-PR 20212)
                                                          El Centro I, Suite 206
                                                          500 Muñoz Rivera Avenue
                                                          San Juan, Puerto Rico 00918
                                                          Telephone: (787) 764-9595
                                                          Facsimile: (787) 765-7575

                                                          Local Counsel to the COFINA Agent


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                                   EXHIBIT 1

                         Certification of Bettina M. Whyte
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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


 In re:

 THE FINANCIAL OVERSIGHT AND                                                 PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                           Title III

                       as representative of                                  Case No. 17-BK-3283 (LTS)

 THE COMMONWEALTH OF PUERTO RICO, et al.,                                    (Jointly Administered)
           Debtors.1


             CERTIFICATION OF BETTINA M. WHYTE PURSUANT TO
       LOCAL BANKRUPTY RULE 2016-1(a)(4) REGARDING CERTIFICATION OF
     APPLICATIONS FOR COMPENSATION IN PUERTO RICO BANKRUPTCY CASES

 I, Bettina M. Whyte, certify as follows:

                  1.       I am the COFINA Agent in the above-captioned cases.

                  2.       I submit this certification in conjunction with the COFINA Agent’s

 Second interim application (the “Application”)2 for allowance of fees and reimbursement of

 expenses for the period October 1, 2017 through January 31, 2018 (the “Application Period”) in

 accordance with Rule 2016-1(a)(4) of the Local Bankruptcy Rules for the District of Puerto

 Rico, the Bankruptcy Rules, the Bankruptcy Code and the Interim Compensation Order

 (collectively, the “Guidelines”).



 1
          The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last
          four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth
          of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii)
          Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last
          Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”)
          (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
          Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case
          No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power
          Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID:
          3747).
 2
          Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the
          Application.
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                3.      I am the professional designated by the COFINA Agent with the

 responsibility for COFINA Agent’s compliance in these cases with the Guidelines. This

 certification is made in connection with the Application for interim allowance of compensation

 for professional services and reimbursement of expenses for the Application Period in

 accordance with the Guidelines.

                4.      Pursuant to Local Rule 2016-1(a)(4) of the Local Rules: (a) I have read

 the COFINA Agent’s Application; (b) to the best of my knowledge, information, and belief,

 formed after reasonable inquiry (except as stated herein or in the Application), the fees and

 disbursements sought in the Application fall within the Guidelines; (c) except to the extent the

 fees and disbursements are prohibited by the Guidelines, the fees and disbursements sought are

 billed at or below the rates and in accordance with practices customarily employed by the

 COFINA Agent and generally accepted by her clients; and (d) the compensation and

 reimbursement of expenses sought in this Application are billed at rates no less favorable to the

 COFINA Agent than those customarily employed by the COFINA Agent.

                5.      The Monthly Fee Statements were provided to the Notice Parties as

 required by the Interim Compensation Order.

                6.      A copy of the daily time records for each of the Monthly Fee Statements,

 broken down by matter and listing the name of the professional, the date on which the services

 were performed, and the amount of time spent in performing the services has previously been

 provided to the Notice Parties. The time records set forth in reasonable detail the services

 rendered by the COFINA Agent in these cases.

                7.      Included in Exhibit 4 of the Application is a list of the different matter

 headings under which time was recorded during the Application Period. The list includes all



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 discrete matters within these cases during the Application Period that reasonably could have

 been expected to constitute a substantial portion of the fees sought during any given application

 period.

                8.     Except as permitted pursuant to Bankruptcy Rule 2016, and as set forth

 above, no agreement or understanding exists between the COFINA Agent and any person for a

 division of compensation or reimbursement received or to be received herein or in connection

 with these cases.

                9.     The COFINA Agent has sought to keep her fees and expenses at a

 reasonable level and to utilize professional services and incur expenses as necessary to

 competently represent COFINA.


 Dated: March 19, 2018


                                                         /s/ Bettina M. Whyte
                                                        Bettina M. Whyte




                                                 -3-
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                                    EXHIBIT 2

                 Summary of Professionals for the Application Period
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                           COMPENSATION BY INDIVIDUAL

                 Name             Position    Hours    Hourly      Fees Earned
                                                        Rate
                                  COFINA
            Bettina M. Whyte                  123.55   $1,100.00   $135,905.00
                                   Agent
                                   Senior
           Frederick G. Kraegel   Business     31.3    $800.00      $25,040.00
                                  Executive
                       TOTAL:                 154.85   $1,039.36   $160,945.00
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                                    EXHIBIT 3

                   Summary of Expenses for the Application Period
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           Disbursements for Period October 1, 2017 through January 31, 2018

          Disbursement                                               Amount
          Postage/ Messenger/ Overnight Delivery                      $103.80
          Local Transportation                                       $653.36
          Overhead Expenses                                           $600.00
          Local Meals                                                  $34.17
          Supplies and Invoicing Software Fee                          $40.00
          Meeting Space Rental Fee                                      $0.00
          Lodging                                                   $1,786.64
          Airfare                                                   $2,213.59
          Less: Voluntary Reduction                                -$1,561.00
          Total:                                                    $3,779.56
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                                     EXHIBIT 4

            Summary of Time by Billing Category for the Application Period
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                       SERVICES RENDERED BY CATEGORY
                    OCTOBER 1, 2017 THROUGH JANUARY 31, 2018

                  Service Category                 Hours           Fees Billed
                                                   Billed
 COFINA Bond Litigation                             60.3           $64,350.00
 Mediation                                         69.85           $74,015.00
 Fee Applications/Agent                              8.5            $7,430.00
 Fee Applications/Counsel                            8.7            $7,800.00
 Non-Working Travel (Billed at Half Time)           7.5             $7,350.00
 TOTAL                                             154.85          $160,945.00
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                                   EXHIBIT 4-A

                Time and Expense Detail for the October Fee Statement
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Bettina Whyte Consultants LLC
545 West Sagebrush Drive
                                                               Invoice 103117
Jackson, Wy 83001                                                             November 2, 2017




BILL TO:
CO FINA




    QTY                                          DESCRIPTION      RATE           AMOUNT

    28.8             Professional Services: Bettina Whyte         $1,100.00        $31,680.00
     12.2            Professional Services: Fred Kraegel            $800.00         $9,760.00




                                                                 TOTAL DUE          $41,440.00




!11voice 103 ·11 7                                                                    page 1 of6
    Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46                        Desc: Main
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Bettina Whyte Consultants LLC
545 West Sagebrush Drive                                                               Invoice 103117
Jackson, Wy 83001                                                                              November 2, 2017




Invoice submitted to:

CO FINA
                                                                                                     Invoice Total

                                                                                           $41,440.00
Prof~§si2aal Servjces

                                                                                              ~            ~
10/3/2017     Bettina Whyte       Mediation                                                    0.2      $220.00
                                  Call with K. Klee
              Bettina Whyte       Mediation                                                    0.6      $660.00
                                  Review informational documents from K. Klee
10/4/2017     Bettina Whyte       Mediation                                                    1.6    $1,760.00
                                  Call with KTBS re strategy
              Bettina Whyte       Mediation                                                    0.3      $330.00
                                  Call with Centerview re financial analysis
              Bettina Whyte       Litigation                                                   0.4      $440.00
                                  Call re D. Forman re 105 motion and other issues
10/5/2017     Fred Kraegel        Mediation                                                    0.3      $240.00
                                  Weekly conference update call B. Whyte, WF&G, KTB&S
              Bettina Whyte       Mediation                                                    0.3      $330.00
                                  Attend weekly update call with F. Kraegel, WF&G, KTB&S
10/10/2017 Fred Kraegel           Fee Application                                              0.8       $640.00
                                  Draft and review September 2017 Fee Statement
              Fred Kraegel        Mediation                                                    0.3       $240.00
                                  Review September 2017 KTB&S invoice
              Fred Kraegel        Mediation                                                    0.4       $320.00
                                  Review documents
                  Bettina Whyte   Mediation                                                    1.5     $1 ,650.00
                                  Call with Judge Houser and all parties in interest
                  Bettina Whyte   Mediation                                                    0.4       $440.00
                                  Call with M. Feldman and K. Klee re next steps
                  Bettina Whyte   Mediation                                                    0.4       $440.00
                                  Review documents
                  Bettina Whyte   Mediation                                                    0.3       $330.00
                                  Review and respond to emails
                  Bettina Whyte   Mediation                                                    0.1       $110.00
                                  Call with K. Klee re next steps
 10/11/201 7 Fred Kraegel         Mediation                                                    0.8       $640.00
                                  Attend weekly update call with B. Whyte, WF&G, KTB&S and
                                  review additional information
                  Fred Kraegel     Mediation                                                   0.6       $480.00
                                   Review and respond to emails

 invoice 103117                                                                                          page 2 of 6
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                                                                                                       Hours        Fees
                Bettina Whyte       Mediation                                                            0.4     $440.00
                                    Review informational emails
                Bettina Whyte       Litigation                                                           0.4     $440.00
                                    Read Senior Coalition Motion in Support
                Bettina Whyte       Mediation                                                            0.8     $880.00
                                    Attend weekly update call with F. Kraegel, WF&G, KTB&S and
                                    additional review of information
                Bettina Whyte       Fee Application                                                      0.4     $440.00
                                    Work on timesheets
10/13/2017 Bettina Whyte            Research                                                             0.9     $990.00
                                    Attend Reorg Research Webinar
                Bettina Whyte       Litigation                                                           0.3     $330.00
                                    Review and discuss new schedule for motions with K. Klee
                Bettina Whyte       Litigation                                                           0.3     $330.00
                                    Review revised draft of Answer
                Bettina Whyte       Litigation                                                           0.5     $550.00
                                    Call with WFG & KTBS re various legal issues
                Bettina Whyte       Mediation                                                            0.2     $220.00
                                    Call with K. Klee re memo to Mediators on key issues
10/15/ 2017 Bettina Whyte           Litigation                                                           1.1    $1,210.00
                                    Read two drafts of Stip & Order re 105 issue. Exchange emails re
                                    same with WF&G and K. Klee
10/ 16/2017 Bettina Whyte           Mediation                                                            0.4     $440.00
                                    Call with M. Feldman re schedule for hearings, discuss 105
                                    motion, discuss matters related to Commonwealth settlement
                                    issues
                    Bettina Whyte   Mediation                                                            0.3     $330.00
                                    Call with M. Feldman & Commonwealth Agent
                    Bettina Whyte   Litigation                                                           0.3     $330.00
                                    Review Draft 3 of Motion and read and respond to emails re:
                                    same
                    Bettina Whyte   Litigation                                                           0.8     $880.00
                                    Call with WF&G & KTB&S re Stip & Order
10/ 18/2017 Fred Kraegel            Mediation                                                            0.4     $320.00
                                    Weekly update call B. Whyte, WF&G , KTB&S
                    Bettina Whyte   Mediation                                                            0.4     $440.00
                                    Attend weekly update call with F. Kraegel, WF&G, KTB&S
                    Bettina Whyte   Mediation                                                            0.2      $220.00
                                    Call with Centerview re retention matters
10/19/2017 Bettina Whyte            Mediation                                                            0.3      $330.00
                                    Read and review documents
                    Bettina Whyte   Mediation                                                             0.3     $330.00
                                    Send and review documents
                    Bettina Whyte   Mediation                                                             0.2     $220.00
                                    Call with M. Feldman
10/20/2017 Bettina Whyte            Litigation                                                            0.5     $550.00
                                    Review and comment on pleadings re schedule
                    Bettina Whyte   Mediation                                                             0.6     $660.00
                                    Read and review emails
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                                                                                                       Hours         Fees
              Bettina Whyte       Litigation                                                             1.1    $1,210.00
                                  Review and respond to issues re Scheduling Order, discuss with
                                  attorneys
10/21/2017 Bettina Whyte          Mediation                                                              0.2     $220.00
                                  Call with M. Feldman re upcoming phone call with Judge Houser
              Bettina Whyte       Mediation                                                              0.8     $880.00
                                  Call with Judge Houser, M. Feldman & Commonwealth Agent re
                                  Mediations
10/23/2017 Bettina Whyte          Mediation                                                              1.5    $1,650.00
                                  Call with WF&G & S. Kirpalani re COFINA Coalition's strategy
              Bettina Whyte       Mediation                                                              0.3     $330.00
                                  Call with M. Rodrigue re SUT collection analysis
              Bettina Whyte       Litigation                                                             0.3     $330.00
                                  Call with K. Klee re AFFAF Motion
              Bettina Whyte       Mediation                                                              0.6     $660.00
                                  Read & respond to emails
              Bettina Whyte       Mediation                                                              0.6     $660.00
                                  Review information provided by Miller Buckfire
10/24/2017 Fred Kraegel           Non-Working Travel                                                     1.0     $800.00
                                  2 hours of non working travel, 1/ 2 time, to New York City to
                                  attend hearing
              Bettina Whyte       Mediation                                                              0.7     $770.00
                                  Discuss Miller Buckfire analysis with Centerview
              Bettina Whyte       Mediation                                                              0.6     $660.00
                                  Read & review emails and respond
10/25/2017 Fred Kraegel           Mediation                                                              0.3     $240.00
                                  Weekly update call B. Whyte, WF&G, KTB&S
              Fred Kraegel        Mediation                                                              1.2     $960.00
                                  Discussion with C. Koenig re Case matters
                  Fred Kraegel    Litigation                                                             3.6    $2,880.00
                                  Attend Hearing re Case matters
                  Fred Kraegel    Non-Working Travel                                                     2.0    $1,600.00
                                  4 hours of non working travel , 1/2 time, from New York City after
                                  attending hearing
                  Bettina Whyte   Litigation                                                             0.1      $110.00
                                  Call with K. Klee re Hearing
                  Bettina Whyte   Mediation                                                              0.3      $330.00
                                  Attend weekly update call with F. Kraegel, WF&G, KTB&S
                  Bettina Whyte   Litigation                                                             0.3      $330.00
                                  Review materials on 105 Hearing
10/27/2017 Bettina Whyte          Mediation                                                              0.8      $880.00
                                  Read public information re all Hearings
                  Bettina Whyte   Litigation                                                              0.4     $440.00
                                  Read draft Scheduling Motion and return comments
                  Bettina Whyte   Mediation                                                               0.2     $220.00
                                  Call with M. Feldman re Mediations, etc.
10/ 29/2017 Bettina Whyte         Mediation                                                               0.5     $550.00
                                  Call with Centerview re Miller Buckfire analysis

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                                                                                                       Hours        Fees
               Bettina Whyte   Litigation                                                                1.2   $1 ,320.00
                               Read & comment on several drafts of Amended Counterclaims &
                               Answer
10/30/201 7 Bettina Whyte      Mediation                                                                 0.2     $220.00
                               Call with J. Weiss & C. Koenig re response to new Fee
                               Application Schedule
               Bettina Whyte   Litigation                                                                0.5     $550.00
                               Review and provide comments to proposed 105 Motion and
                               Motion on Revised Scheduling Order
               Bettina Whyte   Fee Application                                                           0.5     $550.00
                               Work on timesheeets
               Bettina Whyte   Mediation                                                                 0.2     $220.00
                               Call with M. Feldman re strategy
10/31 /2017 Fred Kraegel       Fee Application                                                           0.5     $400.00
                               Complete Time and Expense reporting for October 2017
               Bettina Whyte   Mediation                                                                 0.3     $330.00
                               Call with Miller Buckfire re analysis
               Bettina Whyte   Mediation                                                                 0.6     $660.00
                               Read and respond to emails
               Bettina Whyte   Mediation                                                                 0.3     $330.00
                               Call with Attorneys re Sr Cofina Bondholders' position
                                                                                                        41.0   $41,440.00


                                                                       Total amount of this invoice:           $41,440.00




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                               Fee Summary by Professional
Name                                                         Hours        Rate             Fees
Bettina Whyte                                                 28.8   $1,100.00       $31,680.00
Fred Kraegel                                                  12.2    $800.00         $9,760.00




                                 Fee Summary by Matter
Matter                                                       Hours        Rate             Fees
Mediation                                                     18.5   $1,100.00       $20,350.00
Mediation                                                      4.3    $800.00         $3,440.00
Litigation                                                     8.5   $1,100.00        $9,350.00
Litigation                                                     3.6    $800.00         $2,880.00
Fee Application                                                1.3    $800.00         $1,040.00
Fee Application                                                0.9   $1,100.00          $990.00
Research                                                       0.9   $1 ,100.00         $990.00
Non-Working Travel                                             3.0    $800.00         $2,400.00




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 Invoice 103 i' "17
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Bettina Whyte Consultants LLC
545 West Sagebrush Drive
                                                          Invoice 1031172
Jackson, Wy 83001                                                           November 2, 2017




BILL TO:
CO FINA




    QTY                         DESCRIPTION                        RATE         AMOUNT

                  Costs:                                                          $1,647.30




                                                                 TOTAL DUE         $1,647.30




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Bettina Whyte Consultants LLC
545 West Sagebrush Drive                                                       Invoice 1031172
Jackson, Wy 83001                                                                                 November 2, 2017




Invoice submitted to:

COFINA
                                                                                                       Invoice Total

                                                                                          $1,647.30
Costs
                                                                                                              Cost
10/9/2017     Bettina Whyte   Administrative Expenses                                                      $10.00
                              Monthly invoicing software fee for 1 additional user
10/ 24/2017 Fred Kraegel      Travel                                                                      $803.19
                              Flights to/from New York City attend Hearing.
              Fred Kraegel    Lodging                                                                     $576.11
                              Attend October 25 Hearing
              Fred Kraegel    Ground Transportation                                                         $53.00
                              Taxi Airport to Hotel
10/25/ 2017 Fred Kraegel      Ground Transportation                                                         $55.00
                              Taxi Courthouse to Airport
10/31 /2017 Bettina Whyte     Misc. Supplies                                                              $150.00
                              Monthly overhead expenses
                                                                                                         $1,647.30

                                                                  Total amount of this invoice:          $1,647.30




 Invoice 1031172                                                                                           page 2 of 3
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                             Cost Summary by Professional
Name                                "f' e                                           Cost
Bettina Whyte                       Administrative Expenses                      $10.00
                                     Misc. Supplies                             $150.00
                                    Total                                       $160.00

Fred Kraegel                         Travel                                     $803.19
                                     Lodging                                    $576.11
                                     Ground Transportation                      $108.00
                                     Total                                     $1,487.30




                                 Cost Summary by Type
Expense Type                                                                       Costs

Administrative Expenses                                                          $10.00
Travel                                                                          $803.19
Lodging                                                                          $576.11
Ground Transportation                                                            $108.00
Misc. Supplies                                                                   $150.00




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 invoice 10311 72
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                                   EXHIBIT 4-B

               Time and Expense Detail for the November Fee Statement
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Bettina Whyte Consultants LLC
545 West Sagebrush Drive
                                                           Invoice 113017
                                                                            December 6, 2017
Jackson, Wy 83001




BILL TO:
CO FINA




   QTY                                       DESCRIPTION        RATE            AMOUNT

   39.95         Professional Services: Bettina Whyte           $1,100.00        $43,945.00
    9.6          Professional Services: Fred Kraegel              $800.00         $7,680.00




                                                              TOTAL DUE           $51,625.00




Invoice 113017                                                                      page 1of6
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Bettina Whyte Consultants LLC
545 West Sagebrush Drive                                                              Invoice 113017
Jackson, Wy 83001                                                                                     December 6, 2017




Invoice submitted to:

COFINA
                                                                                                            Invoice Total

                                                                                             $51,625.00
Professional Services
                                                                                                    Hours          Fees
11/1/2017    Bettina Whyte       Mediation                                                            0.5      $550.00
                                 Call with Miller Buckfire and Centerview re Senior Cofina
                                 Coalition position
             Bettina Whyte       Mediation                                                            0.2      $220.00
                                 Call with M. Feldman re Senior COFINA Coalition's strategy
             Bettina Whyte       Mediation                                                            0.5      $550.00
                                 Call with M. Sonkin of National
                 Bettina Whyte   Mediation                                                            0.2      $220.00
                                 Call with M. Feldman re COFINA bondholders' positions
                 Bettina Whyte   Mediation                                                            0.3      $330.00
                                 Call with K. Klee re COFINA bondholders' positions and next
                                 steps
                 Bettina Whyte   Mediation                                                            0.2      $220.00
                                 Call with Miller Buckfire re position of Senior COFINA
                                 bondholders
                 Bettina Whyte   Mediation                                                            0.5      $550.00
                                 Attend weekly attorney update call
                 Fred Kraegel    Mediation                                                            0.5      $400.00
                                 Attend weekly attorney update call
11/2/2017        Fred Kraegel    Case Administration                                                  0.6      $480.00
                                 Read articles and daily emails regarding matters related to case
                 Bettina Whyte   Mediation                                                            0.7      $770.00
                                 Read articles and emails re same with attorneys
11/3/2017        Bettina Whyte   Mediation                                                            1.0    $1,100.00
                                 Read and review informational article
                 Bettina Whyte   Mediation                                                            0.3       $330.00
                                 Read and respond to emails
11/4/2017        Bettina Whyte   Litigation                                                           0.6       $660.00
                                 Read Commonwealth's Answer to Catina's Counterclaims
                 Bettina Whyte   Litigation                                                           0.8       $880.00
                                 Read Quinn Emanuel's Intervention, Counterclaims and Cross
                                 Claims
                 Bettina Whyte   Litigation                                                           0.4       $440.00
                                 Read and respond to emails with attorneys re same
11/6/2017        Fred Kraegel    Fee Application                                                      0.7       $560.00
                                 Review October 2017 Monthly Fees and Expense reporting
invoice 113017                                                                                                  oage 2 ot6
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46                               Desc: Main
                            Document Page 41 of 67
                                                                                                   Hours         Fees
              Bettina Whyte       Litigation                                                         0.9     $990.00
                                  Review motions filed in COFINA and related matters
                  Bettina Whyte   Litigation                                                         0.3     $330.00
                                  Read and responds to emails with attorneys re upcoming
                                  Informational Meetings
11/7/2017         Bettina Whyte   Litigation                                                         0.8     $880.00
                                  Read public info re litigation matters and summaries
                  Bettina Whyte   Mediation                                                          0.4     $440.00
                                  Emails with attorneys re next steps based on revised Mediation
                                  and Trial schedule
11/8/2017         Fred Kraegel    Mediation                                                          0.8     $640.00
                                  Attend weekly attorney call
                  Bettina Whyte   Mediation                                                          0.8     $880.00
                                  Call with Scoggins, Tilden Park and Golden Tree
                  Bettina Whyte   Mediation                                                          1.2    $1,320.00
                                  Read Motions, Pleadings and Summaries of Hearings
                  Bettina Whyte   Mediation                                                          0.8     $880.00
                                  Attend weekly attorney call
11/9/2017         Fred Kraegel    Mediation                                                          0.8     $640.00
                                  Review articles and emails relevant to the case
                  Bettina Whyte   Mediation                                                          0.6     $660.00
                                  Review information from attorneys
11/10/2017 Fred Kraegel           Fee Application                                                    0.4     $320.00
                                  Finalize October 2017 Fee and Expenses information
                  Bettina Whyte   Mediation                                                          0.6     $660.00
                                  Numerous emails with attorneys regarding a call with COFINA
                                  Senior Coalition Steering Committe
                  Bettina Whyte   Mediation                                                          0.4     $440.00
                                  Read & respond to emails
11/13/2017 Bettina Whyte          Mediation                                                          0.8     $880.00
                                  Call with WF&G, KTBS, Scoggins, Golden Tree Tilden Park S.
                                  Kirpalani
                  Bettina Whyte   Mediation                                                          0.6     $660.00
                                  Review and respond to emails
                  Bettina Whyte   Mediation                                                          0.2     $220.00
                                  Call with WF&G and KTBS
11/14/2017 Bettina Whyte          Litigation                                                         1.5    $1,650.00
                                  Read Motions filed by numerous parties re Scope of Agents
                  Bettina Whyte   Mediation                                                          0.5     $550.00
                                  Review Seniors Coalition group's proposal
                  Bettina Whyte   Mediation                                                          0.2     $220.00
                                  Discuss Seniors Coalition group's proposal with Centerview
                  Bettina Whyte   Mediation                                                          0.6     $660.00
                                  Call with Seniors Coalition Group Steering Committee and WF&G,
                                  KTSB and S. Kirpilani
                  Bettina Whyte   Mediation                                                          0.2     $220.00
                                  Call with WF&G, KTBS and Centerview
                  Bettina Whyte   Litigation                                                          0.4     $440.00
                                  Read and respond to emails
Invoice 1130 17                                                                                               page 3 of 6
   Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46                                Desc: Main
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                                                                                                     Hours         Fees
11/16/2017 Fred Kraegel           Mediation                                                            1.2     $960.00
                                  Review articles and emails relevant to case matters
                  Bettina Whyte   Litigation                                                           0.7     $770.00
                                  Read and respond to emails
11/17/2017 Bettina Whyte          Litigation                                                           0.5     $550.00
                                  Attend weekly Attorney call
                  Bettina Whyte   Litigation                                                           0.7     $770.00
                                  Review Draft COFINA Motions
                  Bettina Whyte   Litigation                                                           0.5     $550.00
                                  Read and respond to emails
11/20/2017 Bettina Whyte          Litigation                                                           0.5    $550.00
                                  Read and respond to emails
                  Bettina Whyte   Litigation                                                           0.5    $550.00
                                  Call with WF&G, KTBS and N. Navarro
11/21/2017 Bettina Whyte          Litigation                                                           0.6    $660.00
                                  Read and respond to emails
11/25/2017 Bettina Whyte          Fee Application                                                      0.5    $550.00
                                  Timesheets
11/26/2017 Bettina Whyte          Case Administration                                                  0.3    $330.00
                                  Read and respond to emails
11/27/2017 Bettina Whyte          Mediation                                                            0.1    $110.00
                                  Call with K. Klee
                  Fred Kraegel    Case Administration                                                  2.4   $1,920.00
                                  Draft November 2017 - June 2018 Fees and Expenses
                                  information
                  Bettina Whyte   Mediation                                                            0.5    $550.00
                                  Read pertinent articles, read and respond to emails
                  Bettina Whyte   Mediation                                                            1.3   $1,430.00
                                  Prepare for meeting with UCC Agent
                  Bettina Whyte   Mediation                                                            0.6    $660.00
                                  Call with attorneys to discuss numerous issues
1i/28/2017 Bettina Whyte          Mediation                                                            0.7    $770.00
                                  Review info related to COFINA/Commonwealth dispute
                  Bettina Whyte   Mediation                                                            1.2   $1 ,320.00
                                  Work on plane to prep for meeting with Commonwealth Agent
                  Bettina Whyte   Mediation                                                            1.0   $1,100.00
                                  Read and respond to legal memos
                  Bettina Whyte   Non-Working Travel                                                   2.0   $2.200.00
                                  Non working travel - 4.0 hours at 1/2 time
11/29/2017 Bettina Whyte          Mediation                                                            1.0   $1,100.00
                                  Meeting with K. Klee re strategy
                  Bettina Whyte   Mediation                                                            2.0   $2,200.00
                                  Meeting at WF&G with K. Klee to discuss several legal issues and
                                  strategies
                  Bettina Whyte   Mediation                                                            0.8     $880.00
                                  Attend Creditor Working Group Call
                  Bettina Whyte   Mediation                                                           1.25   $1,375.00
                                  Meeting with Commonwealth Agent and COFINA Agent attorneys

Invoice 1130 17                                                                                               p age 4 o f 6
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46                             Desc: Main
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                                                                                                 Hours         Fees
             Bettina Whyte   Litigation                                                            1.0   $1 ,100.00
                             Review and comment on Draft #1 of Omnibus Opposition Motion
                             of COFINA Agent on Scope Motion
             Bettina Whyte   Non-Working Travel                                                    2.5   $2,750.00
                             Non working travel - 5 hours at 1/2 time
             Fred Kraegel    Case Administration                                                   2.2   $1 ,760.00
                             Finalize information re November 2017 - June 2018 fees and
                             expenses
11/30/2017 Bettina Whyte     Litigation                                                            0.7     $770.00
                             Review revised drafts of Omnibus Motion of COFINA Agent on
                             Scope
             Bettina Whyte   Mediation                                                             0.5     $550.00
                             Calls with Attorneys re various issues
                                                                                                 49.55   $51,625.00


                                                                 Total amount of this invoice:           $51,625.00




Invoice 113017                                                                                              pagf: 5 oi' 6
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46          Desc: Main
                            Document Page 44 of 67
                             Fee Summary by Professional
Name                                                       Hours        Rate             Fees
Bettina Whyte                                              39.95   $1, 100.00       $43,945.00
Fred Kraegel                                                 9.6    $800.00          $7,680.00




                                Fee Summary by Matter
Matter                                                     Hours        Rate              Fees
Mediation                                                  23.25   $1,100.00        $25,575.00
Mediation                                                    3.3     $800.00         $2,640.00
Case Administration                                          5.2     $800.00         $4,160.00
Case Administration                                          0.3   $1,100.00           $330.00
Litigation                                                  11.4   $1 ,100.00       $12,540.00
Fee Appllcation                                              1.1     $800.00           $880.00
Fee Application                                              0.5   $1 ,100.00          $550.00
Non-Working Travel                                           4.5   $1,100.00         $4,950.00




Invoice 11 301 7                                                                       page 6 of 6
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46     Desc: Main
                            Document Page 45 of 67
Bettina Whyte Consultants LLC
545 West Sagebrush Drive
                                                        Invoice 1130172
                                                                           December 6, 2017
Jackson, Wy 83001




BILL TO:
CO FINA




    QTY                         DESCRIPTION                      RATE          AMOUNT

                Costs:                                                           $2,976.15




                                                               TOTAL DUE          $2,976.15




Invoic e 113017'2                                                                  page 1 of S
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46                                Desc: Main
                            Document Page 46 of 67
Bettina Whyte Consultants LLC
545 West Sagebrush Drive                                                          Invoice 1130172
Jackson, Wy 83001                                                                                     December 6, 2017




Invoice submitted to:

COFINA
                                                                                                           Invoice Total

                                                                                               $2,976.15
Costs
                                                                                                                  Cost
i i/1/2017    Bettina Whyte    Postage and Shipping                                                            $56.69
                               FedEx package with COFINA documents from JH to SC. (shipped
                               10/23)
i i/9/2017     Bettina Whyte   Administrative Expenses                                                          $10.00
                               Monthly invoicing software fee for i additional user
i 1/28/2017 Bettina Whyte      Ground Transportation                                                            $60.00
                               Car to the Airport for flight to New York City to attend meetings at
                               Willkie Farr & Gallagher office on 11/29
               Bettina Whyte   Travel                                                                         $485.20
                               Flight to New York City to attend meeting at WF&G on 11/29
               Bettina Whyte   Ground Transportation                                                          $178.49
                               Car from Airport to hotel
               Bettina Whyte   Meals and Entertainment                                                           $4.72
                               Coffee and meal while waiting for flight to New York City
11 /29/2017 Bettina Whyte      Ground Transportation                                                            $60.00
                               Car from the Airport after attending meeting at Willkie Far &
                               Gallagher office in New York City
               Bettina Whyte   Meals and Entertainment                                                          $29.45
                               Breakfast with K. Klee to discuss case before meeting at WF&G
               Bettina Whyte   Lodging                                                                      $1,210.53
                               Hotel Stay due to meeting at WF&G in New York City
               Bettina Whyte   Ground Transportation                                                           $155.87
                               Car from WF&G after meeting to the airport
               Bettina Whyte   Travel                                                                          $575.20
                               Flight from New York City after attending meeting at WF&G
11/30/2017 Bettina Whyte       Miscellaneous Expense                                                           $150.00
                               Monthly overhead expenses
                                                                                                             $2,976.15

                                                                    Total amount of this invoice:            $2,976.15




Invoice 1130 172                                                                                               page 2 of.'3
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46   Desc: Main
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                            Cost Summary by Professional
Name                                T'   e                                         Cost
Bettina Whyte                       Postage and Shipping                         $56.69
                                    Administrative Expenses                      $10.00
                                    Ground Transportation                      $454.36
                                    Travel                                    $1,060.40
                                    Meals and Entertainment                      $34.17
                                    Lodging                                   $1 ,210.53
                                    Miscellaneous Expense                      $150.00
                                    Total                                     $2,976.15




                                Cost Summary by Type
Expense Type                                                                      Costs
Postage and Shipping                                                             $56.69
Administrative Expenses                                                          $10.00
Ground Transportation                                                           $454.36
Travel                                                                        $1,060.40
Meals and Entertainment                                                          $34.17
Lodging                                                                       $1,210.53
Miscellaneous Expense                                                           $150.00




Invoice 1130 172                                                                page 3 ol3
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                                   EXHIBIT 4-C

               Time and Expense Detail for the December Fee Statement
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Bettina Whyte Consultants LLC
545 West Sagebrush Drive
                                                             Invoice 123117
Jackson , Wy 83001                                                            January 2, 2018




BILL TO:
COFINA




    QTY                                        DESCRIPTION       RATE           AMOUNT

    18.2           Professional Services: Bettina Whyte          $1,100.00       $20,020.00
     6.1           Professional Services: Fred Kraegel            $800.00         $4,880.00




                                                               TOTAL DUE          $24,900.00




Invoice 123 11 7
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46                                Desc: Main
                            Document Page 50 of 67
Bettina Whyte Consultants LLC
545 West Sagebrush Drive                                                              Invoice 123117
Jackson, Wy 83001                                                                                       January 2, 2018




Invoice submitted to:

COFINA
                                                                                                             Invoice Total

                                                                                            $24,900.00
PrQfes~ion51I S~CYic~~

                                                                                                    Hours          Em
12/1/2017     Bettina Whyte       Mediation                                                           0.8       $880.00
                                  Review materials relating to Commonwealth-COFINA dispute.
                                  Review and respond to emails
              Bettina Whyte       Mediation                                                           0.6       $660.00
                                  Call with Seniors Coalition Steering Committee
              Bettina Whyte       Mediation                                                           0.6       $660.00
                                  Call with attorneys re call with COFINA Seniors Coalition and
                                  upcoming meeting with National
                  Bettina Whyte   Mediation                                                           0.2       $220.00
                                  Call with M. Sonkin re potential meeting with National
                  Bettina Whyte   Case Administration                                                 0.7       $770.00
                                  Prepare time sheets and work on travel plans and misc logistics
12/6/2017         Fred Kraegel    Fee Application                                                     2.3     $1,840.00
                                  Draft and review First Interim Application
                  Fred Kraegel    Mediation                                                           0.6       $480.00
                                  Review materials relating to Commonwealth-COFINA dispute
                  Bettina Whyte   Mediation                                                           0.2       $220.00
                                  Call with WF&G , KTBS & Kramer Levin
                  Bettina Whyte   Mediation                                                           0.2       $220.00
                                  Call with WF&G and KTBS re call with Kramer Levin
                  Bettina Whyte   Litigation                                                          0.5        $550.00
                                  Read and respond to emails re strategy
                  Bettina Whyte   Mediation                                                           0.5        $550.00
                                  Read COFINA related articles
12/8/2017         Bettina Whyte   Mediation                                                           0.3        $330.00
                                  Review materials relating to Commonwealth-COFINA dispute
                  Bettina Whyte   Mediation                                                           1.0      $1,100.00
                                  Call with WF&G, KTBS, Weil and principals from National to
                                  discuss strategies and scope issues
                  Bettina Whyte   Mediation                                                           0.2        $220.00
                                  Follow up call with WF&G and KTBS re call with National
12/11/2017 Fred Kraegel           Case Administration                                                  1.2       $960.00
                                  Further review First Interim Application
                  Bettina Whyte   Litigation                                                           1.3     $1,430.00
                                  Read documents related to litigation. Read motions from various
                                  parties related to scope and other COFINA matters
Invoice 123 117                                                                                                  page 2 uf 5
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46                                  Desc: Main
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                                                                                                      Hours        ~
              Bettina Whyte       Litigation                                                            0.2     $220.00
                                  Read and respond to emails re litigation matters
              Bettina Whyte       Case Administration                                                   0.2     $220.00
                                  Prepare and enter time entries
12/12/ 2017 Bettina Whyte         Mediation                                                             0.4     $440.00
                                  Call with WF&G, KTBS, L. Despins, Z. Cooper re case status and
                                  next steps
              Bettina Whyte       Mediation                                                             0.3     $330.00
                                  Call with W&FG & KTBS re case status and next steps
              Bett ina Whyte      Mediation                                                             1.0    $1,100.00
                                  Call with COFINA Juniors, WF&G, KTBS and Kramer Levin re
                                  Junior's opinions re case status and next steps, litigation, etc.
              Bettina Whyte       Mediation                                                             0.2     $220.00
                                  Debrief call with WF&G & KTBS following call with COFINA
                                  Juniors
12/14/2017 Bettina Whyte          Mediation                                                             0.8     $880.00
                                  Read and respond to various emails
                  Bettina Whyte   Mediation                                                             1.3    $1 ,430.00
                                  Read information related to COFINA
12/ 19/ 2017 Bettina Whyte        Mediation                                                             0.5     $550.00
                                  Read & respond to emails
                  Bettina Whyte   Mediation                                                             0.5      $550.00
                                  Read information related to COFINA
                  Fred Kraegel    Mediation                                                             0.4      $320.00
                                  Read information related to COFINA
12/20/ 2017 Bettina Whyte         Mediation                                                             0.4      $440.00
                                  Read information related to COFINA
                  Bettina Whyte   Mediation                                                             0.4      $440.00
                                  Attend weekly update call with WF&G & KTBS
                  Fred Kraegel    Mediation                                                             0.4      $320.00
                                  Attend weekly update call with WF&G & KTBS
                  Fred Kraegel    Mediation                                                             0.4      $320.00
                                  Read information related to COFINA
                  Fred Kraegel    Fee Application                                                       0.8      $640.00
                                  Draft and review November 2017 Monthly Fee Statement.
12/21/ 2017 Bettina Whyte         Mediation                                                             0.6      $660.00
                                  Call with WF&G, KTBS, Quinn Emanuel and Miller Buckfire re
                                  next steps
                  Bettina Whyte   Mediation                                                              1.2   $1,320.00
                                  Read & respond to emails review COFINA information
                  Bettina Whyte   Litigation                                                            0.7      $770.00
                                  Call with WF&G & KTBS re litigation, experts and next steps
                  Bettina Whyte   Litigation                                                             1.6   $1 ,760.00
                                  Review Judge Swain's order & WF&G 's summaries re Scope
                                  Motion (ours and other parties)
12/27/2017 Bettina Whyte          Litigation                                                             0.6     $660.00
                                  Attend weekly update call w ith WF&G, KTBS to discuss options
                                  available in light of Scope Motion


Invoice 1231 17                                                                                                  page 3 of 5
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                                                                                             !::i2.lli§        Fees
i 2/29/2017 Bettina Whyte   Litigation                                                           0.2        $220.00
                            Call with M. Feldman re Commonwealth Agent's related to Scope
                            Motion
                                                                                                24.3      $24,900.00


                                                             Total amount of this invoice:                $24,900.00




                                                                                                             page 4 of 5
 Invoice 1231 17
   Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46         Desc: Main
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                             Fee Summary by Professional
Name                                                       Hours        Rate              Fees
Bettina Whyte                                               18.2   $1 ,100.00      $20,020.00
Fred Kraegel                                                 6.1    $800.00         $4,880.00




                                Fee Summary by Matter
Matter                                                     Hours        Rate              Fees
Mediation                                                   12.2   $1,100.00        $13,420.00
Mediation                                                    1.8     $800.00         $1,440.00
Case Administration                                          0.9   $1 ,100.00         $990.00
Case Administration                                          1.2     $800.00          $960.00
Fee Application                                              3.1     $800.00         $2,480.00
Litigation                                                   5.1   $1,100.00         $5,610.00




 Invoice 123 117                                                                       ps.g& .5 of 5
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46    Desc: Main
                            Document Page 54 of 67
Bettina Whyte Consultants LLC
545 West Sagebrush Drive
                                                       Invoice 1231172
Jackson, Wy 83001                                                          January 4, 2018




BILL TO:
COFINA




   QTY                          DESCRIPTION                     RATE         AMOUNT

              Costs:                                                             $557.11




                                                              TOTAL DUE           $557.11




Jmroice 1231172                                                                   page "/ or 3
   Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46                              Desc: Main
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Bettina Whyte Consultants LLC
545 West Sagebrush Drive                                                         Invoice 1231172
Jackson, Wy 83001                                                                                     January 4, 2018




Invoice submitted to:

CO FINA
                                                                                                         Invoice Total

                                                                                                    $557.11
Costs
                                                                                                                QQfil
12/ 1/2017      Bettina Whyte   Postage and Shipping                                                          $47.11
                                Fedex package with Reorg Research documents from NY to SC
                                (shipped on 11/20)
12/9/2017       Bettina Whyte   Administrative Expenses                                                       $10.00
                                Monthly invoicing software fee for 1 additional user
12/19/2017 Bettina Whyte        Travel                                                                      $200.00
                                Flight Cancellation Fee - to New York to attend Omnibus Hearing
                                (Hearing Cancelled)
12/20/2017 Bettina Whyte        Travel                                                                      $150.00
                                Flight cancellation fee from New York - Omnibus Hearing
                                canceled
12/31 /2017 Bettina Whyte       Miscellaneous Expense                                                        $150.00
                                Monthly overhead expenses
                                                                                                             $557.11

                                                                    Total amount of this invoice:            $557.11




 Invoice -123 1172                                                                                           pa.g<: 2 of 3
  Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46   Desc: Main
                            Document Page 56 of 67
                            Cost Summary by Professional
Name                                T' e                                          Cost
Bettina Whyte                       Postage and Shipping                        $47.11
                                    Administrative Expenses                     $10.00
                                    Travel                                     $350.00
                                    Miscellaneous Expense                      $150.00
                                    Total                                      $557.11




                                Cost Summary by Type
Expense Type                                                                     Cost s
Postage and Shipping                                                            $47.11
Administrative Expenses                                                         $10.00
Travel                                                                         $350.00
Miscellaneous Expense                                                          $150.00




Invoice 1231172                                                                 page 3 of3
Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46    Desc: Main
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                                   EXHIBIT 4-D

                Time and Expense Detail for the January Fee Statement
   Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46      Desc: Main
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Bettina Whyte Consultants LLC
545 West Sagebrush Drive
                                                             Invoice 13118
Jackson, Wy 83001                                                            February 12, 2018




BILL TO:
CO FINA




    QTY                                       DESCRIPTION        RATE            AMOUNT

    36.6          Professional Services: Bettina Whyte           $1,100.00        $40,260.00
     3.4          Professional Services: Fred Kraegel             $800.00          $2,720.00




                                                               TOTAL DUE           $42,980.00




Invoice 13 11 8                                                                       page 1 c.f 7
    Case:17-03283-LTS Doc#:2725 Filed:03/19/18 Entered:03/19/18 16:01:46                                 Desc: Main
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Bettina Whyte Consultants LLC
545 West Sagebrush Drive                                                                   Invoice 13118
Jackson, Wy 83001                                                                                       February 12, 2018




Invoice submitted to:

CO FINA
                                                                                                              Invoice Total

                                                                                             $42,980.00
Professional Services
                                                                                                        ~            ~
1/3/2018          Bettina Whyte   Fee Application                                                       0.5      $550.00
                                  Prepare and enter time entries
                  Fred Kraegel    Litigation                                                            0.4      $320.00
                                  Attend weekly attorney call to discuss litigation strategy re scope
                                  and next steps
                  Bettina Whyte   Litigation                                                            0.4      $440.00
                                  Attend weekly attorney call to discuss litigation strategy re scope
                                  and next steps
                  Bettina Whyte   Fee Application                                                       0.3      $330.00
                                  Review Fee Examiner's Letter and correspond with attorneys re
                                  same
1/4/2018          Bettina Whyte   Litigation                                                            0.8      $880.00
                                  Review Commonwealth's Agent's Motion re Clarification of
                                  Scope
                  Bettina Whyte   Litigation                                                            0.2       $220.00
                                  Call with M. Feldman to discuss Commonwealth's Agent's
                                  Motion and next steps
                  Bettina Whyte   Litigation                                                            0.1       $110.00
                                  Call with K. Klee re Commonwealth Agent's Motion and next
                                  steps
                  Bettina Whyte   Litigation                                                            0.2       $220.00
                                  Read and respond to emails
1/5/20 18         Fred Kraegel    Litigation                                                            0.5       $400.00
                                  Call with WF&G, KTBS, N. Navarro and B. Whyte re litigation
                                  strategy related to scope
                  Fred Kraegel    Fee Application                                                       0.1        $80.00
                                  Call with B. Whyte re Fee Statement
                  Bettina Whyte   Litigation                                                            0.5       $550.00
                                  Call with WF&G, KTBS, N. Navarro and F. Kraegel re litigation
                                  strategy related to Scope
                  Bettina Whyte   Litigation                                                            0.2       $220.00
                                  Call with K. Klee re constitutionality issues related to Scope
                  Bettina Whyte   Fee Application                                                       0.1       $110.00
                                  Call with F. Kraegel re fee Statement
                  Bettina Whyte   Litigation                                                            0.2       $220.00
                                  Call with K. Klee re litigation issues

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                                                                                                   Hours         Fees
                Bettina Whyte   Litigation                                                           0.4     $440.00
                                Call with M. Sonkin of National re National's position re Scope
                                Order and next steps
                Bettina Whyte   Litigation                                                           0.1     $110.00
                                Call with M. Feldman re conversations with various COFINA
                                stakeholders
                Bettina Whyte   Litigation                                                           0.5     $550.00
                                Emails with A. Yanez re expert witnesses and emails to potential
                                witness
1/6/2018        Bettina Whyte   Mediation                                                            0.3     $330.00
                                Call with Judge Houser and M. Feldman re mediations
                Bettina Whyte   Mediation                                                            0.3     $330.00
                                Follow-up calls and emails with M. Feldman re mediation
                Bettina Whyte   Litigation                                                           0.2     $220.00
                                Call with K. Klee re litigation issues
1/7/2018        Bettina Whyte   Litigation                                                           0.3     $330.00
                                Call with WF&G & KTBS re litigation and mediation process going
                                forward
                Bettina Whyte   Litigation                                                           0.6     $660.00
                                Review draft Objection to Commonwealth Agent's Motion for
                                Clarification
                Bettina Whyte   Litigation                                                           0.4     $440.00
                                Emails and calls with WF&G re COFlNA Objection
                Bettina Whyte   Litigation                                                           0.4     $440.00
                                Review revised draft COFlNA Objection
i / 8/2018      Bettina Whyte   Litigation                                                           0.3     $330.00
                                Review and approve COFINA response to Commonwalth Agent's
                                Motion for Clarification
                Bettina Whyte   Litigation                                                           1.0    $1 ,100.00
                                Review all responses filed by various parties to Commonwealth
                                Agent's Motion for Clarification
                Bettina Whyte   Litigation                                                           0.4     $440.00
                                Emails and calls to potential expert witnesses
1/9/2018        Bettina Whyte   Litigation                                                           0.2      $220.00
                                Emails with various parties re potential experts
1/ 12/2018      Bettina Whyte   Litigation                                                           0.3      $330.00
                                Review Motions in Support of Commonwealth Agent's Motion
                Bettina Whyte   Litigation                                                           0.7      $770.00
                                Review Commonwealth Ag ent's Motion Seeking to File Leave to
                                File Revised 2nd Amended Complaint
                Bettina Whyte   Litigation                                                           1.1    $i ,210.00
                                Read & respond to several emails with WF&G & KTBS re
                                Commonwealth Agent's Motion for Leave and next steps
                Bettina Whyte   Litigation                                                           0.2      $220.00
                                Reach out to potential expert
                Bettina Whyte   Litigation                                                            1.4   $1,540.00
                                Review various Drafts of COFlNA's Objection to Commonwealth
                                Motion for Leave and approve Final
1/13/2018       Bettina Whyte   Mediation                                                             0.3     $330.00
                                Review Judge Hauser's Mediation Memo
Invoice 13118                                                                                                 page 3 o i' 7
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                                                                                                   Hours        Fees
                Bettina Whyte   Mediation                                                            0.5    $550.00
                                Numerous emails with WF&G & KTBS re Mediation Memo
1/14/2018       Bettina Whyte   Litigation                                                           0.3    $330.00
                                Review Judge Swain's Order approving Commonwealth Agents
                                Motion for Leave
                Bettina Whyte   Litigation                                                           0.3    $330.00
                                Numerous emails with WF&G & KTBS re Judge Swain 's Order
                                and next steps
                Bettina Whyte   Litigation                                                           1.4   $1,540.00
                                Re-Review all court documents related to Scope (motions,
                                answers, orders, etc)
                Bettina Whyte   Litigation                                                           0.4    $440.00
                                Call with WF&G, KTBS, N. Navarro and F. Kraegel re litigations
                                next steps and Mediation process
                Fred Kraegel    Litigation                                                           0.4    $320.00
                                Call with WF&G, KTBS, N. Navarro and B.Whyte re litigation next
                                steps and Mediation process
1/16/2018       Bettina Whyte   Litigation                                                           0.5    $550.00
                                Call with K. Klee and J. Weiss re litigation arguments
                Bettina Whyte   Litigation                                                           0.5    $550.00
                                Review M. Feldman's emails to COFINIA constituents and make
                                changes
                Bettina Whyte   Litigation                                                           0.1    $110.00
                                Call with J. Weiss re accounting expert
                Bettina Whyte   Litigation                                                           0.2    $220.00
                                Call with attorneys re expert witness
1/17/2018       Bettina Whyte   Litigation                                                           0.4    $440.00
                                Work on expert witness designations and contracts and discuss
                                revisions with S. Hussein
                Bettina Whyte   Litigation                                                           1.0   $1,100.00
                                Call with WF&G, KTBS and attorneys for COFINA stakeholders
                                re litigation positions and future mediation
                Bettina Whyte   Litigation                                                           0.7    $770.00
                                Attend weekly attorney call with WF&G, KTBS, N. Navarro and F.
                                Kraegel re litigation next steps and procedural issues, document
                                production, depositions, expert witnesses
                Fred Kraegel    Litigation                                                           0.7    $560.00
                                Attend weekly attorney call with WF&G, KTBS, N. Navarro and B.
                                Whte re litigation next steps and procedural issues, document
                                production, depositions, expert witnesses
1/21/2018       Bettina Whyte   Litigation                                                           0.6    $660.00
                                Review issues related to extensions of summary judgement and
                                discovery; respond to WF&G
1/22/2018       Bettina Whyte   Litigation                                                           0.3    $330.00
                                Call with J . Dugan re issues related to extension of summary
                                judgement deadlines and discovery
1/23/2018       Bettina Whyte   Litigation                                                           0.2     $220.00
                                Call with M. Feldman re status of court filings and discovery
1/24/2018       Bettina Whyte   Litigation                                                           0.8     $880.00
                                Review all Motions filed & Replies to Commonwealth Agents
                                Motion for Extension
Invoice 13118                                                                                                page 4 of I
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                                                                                                  Hours         Fees
                Bettina Whyte   Litigation                                                          0.2     $220.00
                                Review and approve AlixPartners revised engagement letter
                Bettina Whyte   Litigation                                                          0.2     $220.00
                                Call with A. Yanez re Support for Sr COFINA bondholders' Urgent
                                Motion for Hearing
                Bettina Whyte   Litigation                                                          0.4     $440.00
                                Read and respond to emails
                Bettina Whyte   Litigation                                                          0.5     $550.00
                                Attend weekly Attorney Call to discuss next steps related to
                                litigation and Mediation
                Fred Kraegel    Litigation                                                          0.5     $400.00
                                Attend weekly Attorney Call to discuss next steps related to
                                litigation and Mediation
1/26/2018       Bettina Whyte   Litigation                                                          0.6     $660.00
                                Review various legal documents from attorneys
1/28/2018       Bettina Whyte   Mediation                                                           1.2    $1,320.00
                                Call and emails with attorneys related to discussion with Judge
                                Houser and other parties related to scope within mediation
                Bettina Whyte   Mediation                                                           0.7     $770.00
                                Review drafts of motion related to scope and mediation
                Bettina Whyte   Mediation                                                           0.6     $660.00
                                Read and review info related to COFINA issues
1/29/2018       Bettina Whyte   Litigation                                                          0.6     $660.00
                                Review Urgent Motion by COFINA Agent and Oversight Board re
                                Expanded Authority and approve
                Bettina Whyte   Litigation                                                          0.5     $550.00
                                Read and respond to emails related to Expanded Authority
                Bettina Whyte   Litigation                                                          0.3     $330.00
                                Call with K. Klee and M. Feldman re next steps
                Bettina Whyte   Litigation                                                          0.3     $330.00
                                Read info related to COFINA issues
                Bettina Whyte   Mediation                                                           0.3     $330.00
                                Review Miller Buckfire analysis re SUT
1/30/2018       Bettina Whyte   Mediation                                                           0.9     $990.00
                                Review emails re Urgent Motions related to scope and mediation
                                and discussion of various constituents' positions
                Bettina Whyte   Mediation                                                           0.3     $330.00
                                Review drafts related to Urgent Motion related to scope and
                                mediation
                Bettina Whyte   Mediation                                                           0.5      $550.00
                                Review info related to COFINA matters
                Bettina Whyte   Litigation                                                           1.5   $1,650.00
                                Review and approve COFINA 2nd Amended Answer
                Bettina Whyte   Mediation                                                            0.2     $220.00
                                Call with J. Minias re status of COFINA constituents related to
                                mediation
                Fred Kraegel    Fee Application                                                      0.3     $240.00
                                Work related to time entries


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                                                                                                      Hours        Fees
1/31/2018       Bettina Whyte   Fee Application                                                         0.5     $550.00
                                Work related to time entries
                Bettina Whyte   Mediation                                                               0.1     $110.00
                                Call with J. Minias re scope issues
                Bettina Whyte   Mediation                                                               0.2     $220.00
                                Call with M. Feldman re Ambac's latest Scope Proposal
                Bettina Whyte   Litigation                                                              0.4     $440.00
                                Read analysis of Judge Swain's dismissal of GO Bondholders'
                                claim against Commonwealth
                Bettina Whyte   Litigation                                                              1.1   $1,210.00
                                Review COFINA draft Summary Judgement brief
                Bettina Whyte   Litigation                                                              2.5    $2,750.00
                                Review filings of COFINA Parties re Amended Answers and
                                Counterclaims to Commonwealth Agent's Complaint
                Bettina Whyte   Mediation                                                               0.1     $110.00
                                Review revised proposed Order re Immunity Expansion
                Fred Kraegel    Litigation                                                              0.5     $400.00
                                Attend weekly Attorney update call
                Bettina Whyte   Litigation                                                              0.3     $330.00
                                Call with KTBS re litigation issues
                Bettina Whyte   litigation                                                              0.5     $550.00
                                Attend weekly Attorney update call
                                                                                                       40.0   $42,980.00


                                                                      Total amount of this invoice:           $42,980.00




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                                  Fee Summary by Professional
     Name                                                       Hours        Rate              Fees
     Bettina Whyte                                               36.6   $1 '100.00       $40,260.00
     Fred Kraegel                                                 3.4    $800.00          $2 ,720.00




                                     Fee Summary by Matter
     Matter                                                     Hours        Rate              Fees
     Fee Application                                              1.4   $1,100.00         $1,540.00
     Fee Application                                              0.4     $800.00           $320.00
     Litigation                                                   3.0     $800.00         $2,400.00
     Litigation                                                  28.7   $1 ,100.00       $31,570.00
     Mediation                                                    6.5   $1,100.00         $7,150.00




      lrwoice 13118




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Bettina Whyte Consultants LLC
545 West Sagebrush Drive                                   Invoice 131182
Jackson, Wy 83001                                                          February 12, 2018




BILL TO:
CO FINA




    QTY                         DESCRIPTION                      RATE          AMOUNT

                   Costs:                                                          $160.00




                                                               TOTAL DUE            $160.00




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Bettina Whyte Consultants LLC
545 West Sagebrush Drive                                                              Invoice 131182
Jackson, Wy 83001                                                                                   February 12, 2018




Invoice submitted to:

CO FINA
                                                                                                         Invoice Total

                                                                                                   $160.00
Costs
                                                                                                                .Q.Qfil
1/9/2018       Bettina Whyte   Administrative Expenses                                                        $10.00
                               Monthly invoicing software fee for 1 additional user
1/31/2018      Bettina Whyte   Miscellaneous Expense                                                        $150.00
                               Monthly overhead expenses
                                                                                                            $160.00

                                                                   Total amount of this invoice:            $160.00




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                             Cost Summary by Professional
Name                                -r e                                           Cost
Bettina Whyte                       Administrative Expenses                      $10.00
                                    Miscellaneous Expense                       $150.00
                                    Total                                       $160.00




                                Cost Summary by Type
Expense Type                                                                      Costs
Administrative Expenses                                                          $10.00
Miscellaneous Expense                                                           $150.00




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